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                                            September 30, 2022



The Honorable Gregory B. Williams                                       VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3555

                    Re:      Jazz Pharmaceuticals, Inc. v. Avadel CNS Pharmaceuticals, LLC
                             C. A. Nos. 21-691, 21-1138, 21-1594

Dear Judge Williams:

       The parties in the above-referenced matter write to request the scheduling of a discovery
teleconference.

       The following attorneys, including at least one Delaware Counsel and at least one Lead
Counsel per party, participated in a verbal meet and confer (in person and/or by telephone) on the
following date(s): September 15, 2022 and September 28, 2022.

          Delaware Counsel:

          Jeremy Tigan, Morris, Nichols, Arsht & Tunnell LLP, on behalf of Plaintiff

          Daniel Silver and Alexandra Joyce, McCarter & English, on behalf of Defendant

          Lead Counsel:

      Frank C. Calvosa, Gabe Brier and Krista M. Rycroft, Quinn Emanuel Urquhart & Sullivan
LLP, on behalf of Plaintiff

      Audra Sawyer and Herman Yue, Latham & Watkins LLP, and Kira Davis, Durie Tangri
LLP, on behalf of Defendant
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       The dispute requiring judicial attention is as follows:

       Whether Avadel should be compelled to produce damages-related discovery in response to
Jazz’s Requests for Production Nos. 57, 59-64, 68-75, 77-80.

                                              Respectfully,

                                              /s/ Jeremy A. Tigan

                                              Jeremy A. Tigan (#5239)

JAT:lo
cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via CM/ECF and e-mail)
